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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 20-CIV-81205-RAR

   SECURITIES AND EXCHANGE
   COMMISSION,

          Plaintiff,

   v.

   COMPLETE BUSINESS SOLUTIONS
   GROUP, INC. d/b/a PAR FUNDING, et al.,

         Defendants.
   _______________________________/

                 ORDER (1) DENYING NON-PARTY TOORAK CAPITAL
           PARTNERS, LLC’S MOTION TO INTERVENE AND LIFT LITIGATION
                INJUNCTION AND (2) GRANTING RECEIVER, RYAN K.
           STUMPHAUZER’S MOTION TO LIFT LITIGATION INJUNCTION TO
            ALLOW TOORAK CAPITAL PARTNERS, LLC TO PROCEED WITH
            CERTAIN FORECLOSURE ACTIONS IN NEW YORK STATE COURT

          THIS CAUSE comes before the Court upon Non-Party Toorak Capital Partners, LLC’s

   Motion to Intervene and Lift Litigation Injunction to Allow it to Proceed with Foreclosure Actions

   in New York State Court [ECF No. 1391] (“Motion to Intervene”); and the Receiver’s Motion to

   Lift Litigation Injunction to Allow Toorak Capital Partners, LLC to Proceed with Certain

   Foreclosure Actions in New York State Court [ECF No. 1420] (“Receiver’s Motion to Lift

   Litigation Injunction”).

          In the Motion to Intervene, Non-Party Toorak Capital Partners, LLC seeks to intervene in

   this action for the limited purpose of requesting the Court to lift the litigation injunction provided

   for in the Court’s Amended Order Appointing Receiver dated August 13, 2020 [ECF No. 141]

   (“Amended Order”), so as to permit Toorak Capital Partners, LLC to proceed with the following

   two foreclosure actions that are pending in the Supreme Court of the State of New York, Kings
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   County: (a) Toorak Capital Partners, LLC v. 145 Stuyvesant Ave. Prop. LLC, et al., Index No.

   500868/2021 (“145 Stuyvesant Foreclosure Action”), which names Complete Business Solutions

   Group, Inc. d/b/a Par Funding as a junior lienholder defendant; and (b) Toorak Capital Partners,

   LLC v. 347A Quincy St. Prop. LLC, et al., Index No. 501908/2021 (“347A Quincy Foreclosure

   Action”), which names Fast Advance Funding Inc. as a junior lienholder defendant.

          In the Receiver’s Response to the Motion to Intervene and the Receiver’s Motion to Lift

   Litigation Injunction, the Receiver opposes the Motion to Intervene, but simultaneously requests

   the Court lift the litigation injunction provided for in the Amended Order to allow Non-Party

   Toorak Capital Partners, LLC to proceed with the Foreclosure Action.

          The Receiver has made a sufficient and proper showing in support of the relief requested.

   Accordingly, it is hereby

          ORDERED AND ADJUDGED as follows:

          1.      The Motion to Intervene is DENIED.

          2.      The Receiver’s Motion to Lift Litigation Injunction is GRANTED. For the reasons

   stated in the Receiver’s Motion to Lift Litigation Injunction, the litigation injunction set forth in

   the Court’s Amended Order Appointing Receiver dated August 13, 2020 [ECF No. 141] is hereby

   lifted to allow Toorak Capital Partners, LLC to proceed with the 145 Stuyvesant Foreclosure

   Action and the 347A Quincy Foreclosure Action.

          DONE AND ORDERED in Fort Lauderdale, Florida, this 30th day of September, 2022.



                                                         ________________________________
                                                         RODOLFO A. RUIZ II
                                                         UNITED STATES DISTRICT JUDGE

   Copies to:     Counsel of record




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